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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE                                          §
                                               §      CASE NO. 10-36451-MVL
JULIO ALBERTO PEREZ                            §
CECILIA PEREZ                                  §     CHAPTER 7
     Debtors                                   §


               DEBTORS' RESPONSE TO OBJECTION TO EXEMPTIONS

        COMES NOW, JULIO ALBERTO PEREZ AND CECILIA PEREZ, (hereinafter,

“Debtors”) and files this their Response to the Trustee's Objection to Exemptions, (hereinafter,

"Objection"), and in support thereof would respectfully show this Court the following:

1.      Debtors filed a voluntary Chapter 7 bankruptcy petition on September 11, 2010.

2.      On or about, October 15, 2010, the Debtors' 341 meeting was held and concluded.

3.      On or about November 8, 2019, the Trustee moved to reopen the case and the case what

        reopen on December 11, 2019.

4.      On or about May 1, 2020, C. Daniel Herrin filed a motion to substitute counsel that was

        granted on May 4, 2020.

5.      On or about June 15, 2020, the Debtor’s filed amended schedules updating the assets and

        exempting properly accordingly.

6.      On or about, July 14, 2020, the objection to the Debtors' exemptions was filed by the

        Chapter 7 Trustee for improper exemptions of Debtor's personal property.
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                               Answer to Objection to Debtor’s Exemptions

7.     Debtors denies allegations of paragraph 9 of the Motion.


8.     Debtors denies allegations of paragraph 10, in its entirety, of the Motion.


9.     Debtors cannot admit or deny allegations of paragraph 11 of the Motion as Debtors are

without sufficient knowledge or information to form a belief as to the truth and therefore makes a

qualified denial.


       WHEREFORE, PREMISES CONSIDERED, Debtors pray that the Objection be denied,

and for such other relief that this Court deems fair and just.


Dated: August 4, 2020




                                                       Respectfully Submitted,

                                                       HERRIN LAW, PLLC

                                                       /s/ C. Daniel Herrin
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